Case 1:17-bk-12408-MB   Doc 365 Filed 12/28/17 Entered 12/28/17 11:13:40   Desc
                         Main Document    Page 1 of 14
Case 1:17-bk-12408-MB   Doc 365 Filed 12/28/17 Entered 12/28/17 11:13:40   Desc
                         Main Document    Page 2 of 14
Case 1:17-bk-12408-MB   Doc 365 Filed 12/28/17 Entered 12/28/17 11:13:40   Desc
                         Main Document    Page 3 of 14
     Case 1:17-bk-12408-MB       Doc 365 Filed 12/28/17 Entered 12/28/17 11:13:40   Desc
                                  Main Document    Page 4 of 14


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     Dated: December 28, 2017
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     Agreed:
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     ICPW LIQUIDATION CORPORATION, et al.
44
     By:
55          RON BENDER
66          MONICA Y. KIM
            KRIKOR J. MESHEFEJIAN
77   LEVENE, NEALE, BENDER, YOO & BRILL
     L.L.P.
88   Attorneys for Debtors and Debtors in
     Possession
99
10
10   DENTONS US LLP
     SAMUEL R. MAIZEL
11
11   TANIA M. MOYRON
12
12   By:_________________________
     Tania M. Moyron
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13
     Attorneys for the Official Committee of Equity
14
14   Holders

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15
16
16   SKADDEN, ARPS, SLATE, MEAGHER & FLOM LLP
17
17
18   By:________________________
18
        VAN C. DURRER II, Partner
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Case 1:17-bk-12408-MB   Doc 365 Filed 12/28/17 Entered 12/28/17 11:13:40   Desc
                         Main Document    Page 5 of 14




                    EXHIBIT "1"
Case 1:17-bk-12408-MB   Doc 365 Filed 12/28/17 Entered 12/28/17 11:13:40   Desc
                         Main Document    Page 6 of 14
Case 1:17-bk-12408-MB   Doc 365 Filed 12/28/17 Entered 12/28/17 11:13:40   Desc
                         Main Document    Page 7 of 14
Case 1:17-bk-12408-MB   Doc 365 Filed 12/28/17 Entered 12/28/17 11:13:40   Desc
                         Main Document    Page 8 of 14
Case 1:17-bk-12408-MB   Doc 365 Filed 12/28/17 Entered 12/28/17 11:13:40   Desc
                         Main Document    Page 9 of 14
Case 1:17-bk-12408-MB   Doc 365 Filed 12/28/17 Entered 12/28/17 11:13:40   Desc
                        Main Document     Page 10 of 14
Case 1:17-bk-12408-MB   Doc 365 Filed 12/28/17 Entered 12/28/17 11:13:40   Desc
                        Main Document     Page 11 of 14
Case 1:17-bk-12408-MB   Doc 365 Filed 12/28/17 Entered 12/28/17 11:13:40   Desc
                        Main Document     Page 12 of 14
Case 1:17-bk-12408-MB                Doc 365 Filed 12/28/17 Entered 12/28/17 11:13:40                                       Desc
                                     Main Document     Page 13 of 14
                                    PROOF OF SERVICE OF DOCUMENT
  1
      I am over the age of 18 and not a party to this bankruptcy case or adversary proceeding. My business
  2   address is: 10250 Constellation Boulevard, Suite 1700, Los Angeles, CA 90067

  3   A true and correct copy of the foregoing document entitled JOINT NOTICE REGARDING ALLOWANCE
      AND PAYMENT OF FILED CLAIM OF SKADDEN, ARPS, SLATE, MEAGHER & FLOM LLP
  4   PURSUANT TO ORDER GRANTING DEBTORS’ MOTION FOR AUTHORITY TO PAY UNDISPUTED
      PRE-PETITION CLAIMS OF SOLVENT ESTATE AND ESTABLISHING PROTOCOL will be served or
  5   was served (a) on the judge in chambers in the form and manner required by LBR 5005-2(d); and (b) in
      the manner stated below:
  6
      1. TO BE SERVED BY THE COURT VIA NOTICE OF ELECTRONIC FILING (NEF): Pursuant to
  7   controlling General Orders and LBR, the foregoing document will be served by the court via NEF and
      hyperlink to the document. On December 28, 2017, I checked the CM/ECF docket for this bankruptcy
  8   case or adversary proceeding and determined that the following persons are on the Electronic Mail
      Notice List to receive NEF transmission at the email addresses stated below:
  9
               Shiva D Beck sbeck@gardere.com, jcharrison@gardere.com
 10            Ron Bender rb@lnbyb.com
               Cathrine M Castaldi ccastaldi@brownrudnick.com
 11            Russell Clementson russell.clementson@usdoj.gov
               Aaron S Craig acraig@kslaw.com, lperry@kslaw.com
 12            Matthew A Gold courts@argopartners.net
               Monica Y Kim myk@lnbrb.com, myk@ecf.inforuptcy.com
 13            Jeffrey A Krieger jkrieger@ggfirm.com,
                kwoodson@greenbergglusker.com;calendar@greenbergglusker.com;jking@greenberggl
 14             usker.com
               Samuel R Maizel samuel.maizel@dentons.com,
 15             alicia.aguilar@dentons.com;docket.general.lit.LOS@dentons.com;tania.moyron@dentons
                .com;kathryn.howard@dentons.com
 16            Krikor J Meshefejian kjm@lnbrb.com
               Tania M Moyron tania.moyron@dentons.com, chris.omeara@dentons.com
 17            S Margaux Ross margaux.ross@usdoj.gov
               United States Trustee (SV) ustpregion16.wh.ecf@usdoj.gov
 18            Sharon Z. Weiss sharon.weiss@bryancave.com, raul.morales@bryancave.com

 19
      2. SERVED BY UNITED STATES MAIL: On December 28, 2017, I served the following persons and/or
      entities at the last known addresses in this bankruptcy case or adversary proceeding by placing a true
 20   and correct copy thereof in a sealed envelope in the United States mail, first class, postage prepaid, and
      addressed as follows. Listing the judge here constitutes a declaration that mailing to the judge will be
 21   completed no later than 24 hours after the document is filed.
 22   Hon. Martin R. Barash
      United States Bankruptcy Court
 23   21041 Burbank Boulevard, Suite 342
      Woodland Hills, CA 91367
 24
                                                                              Service information continued on attached page
 25
 26
 27
 28

       This form is mandatory. It has been approved for use by the United States Bankruptcy Court for the Central District of California.

      June 2012                                                                    F 9013-3.1.PROOF.SERVICE
Case 1:17-bk-12408-MB                Doc 365 Filed 12/28/17 Entered 12/28/17 11:13:40                                       Desc
                                     Main Document     Page 14 of 14
      3. SERVED BY PERSONAL DELIVERY, OVERNIGHT MAIL, FACSIMILE TRANSMISSION OR
  1   EMAIL (state method for each person or entity served): Pursuant to F.R.Civ.P. 5 and/or controlling LBR,
      on December 28, 2017, I served the following persons and/or entities by personal delivery, overnight
  2   mail service, or (for those who consented in writing to such service method), by facsimile transmission
      and/or email as follows. Listing the judge here constitutes a declaration that personal delivery on, or
  3   overnight mail to, the judge will be completed no later than 24 hours after the document is filed.

  4
      I declare under penalty of perjury under the laws of the United States of America that the foregoing is
  5   true and correct.

  6    December 28, 2017                     Lourdes Cruz                                /s/ Lourdes Cruz
       Date                                  Type Name                                   Signature
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       This form is mandatory. It has been approved for use by the United States Bankruptcy Court for the Central District of California.

      June 2012                                                                    F 9013-3.1.PROOF.SERVICE
